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15                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
16
     UNITED STATES OF AMERICA,
17                                                 No.
                                  Plaintiff,
18                     v.
19   STATE OF WASHINGTON; JAY
     INSLEE, in his official capacity as             COMPLAINT
20   Governor of the State of Washington;
     WASHINGTON STATE
21   DEPARTMENT OF LABOR &
     INDUSTRIES; JOEL SACKS, in his
22   official capacity as Director of the
     Washington State Department of Labor &
23   Industries,
24                               Defendants.
25         Plaintiff the United States of America alleges as follows:
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                                      INTRODUCTION
1
2          1. The State of Washington (“State” or “Washington”) has enacted a workers’
3             compensation law, entitled “Hanford Site Employees—Occupational
4             Disease Presumption,” or Washington Substitute House Bill 1723 (“HB
5             1723”), attached hereto as Ex. A, that impermissibly singles out and
6             discriminates against the Federal Government and its contractors, purports to
7             directly regulate the Federal Government, and imposes significant burdens
8             on the Federal Government and its contractors without imposing them on
9             other employers in the State, all in violation of the Supremacy Clause of the
10            U.S. Constitution. This action seeks to enjoin implementation of this
11            improper statute and have it declared invalid.
12         2. The U.S. Department of Energy (“DOE”) is responsible for the remediation
13            of the environmental legacy of the United States’ production of nuclear
14            weapons, including that of its chief plutonium production facility—the
15            Hanford Nuclear Reservation (“Hanford”) in southeast Washington, which
16            played a critical role in the United States’ national defense from World War
17            II through the end of the Cold War. Nearly all of Hanford is owned by the
18            Federal Government.
19         3. Hanford’s large-scale production of critical national defense materials for
20            the Federal Government generated a significant amount of radioactive and
21            hazardous chemical wastes, which are now the focus of ongoing cleanup
22            work that is unprecedented in its scale and complexity.
23         4. DOE’s top priority in conducting its cleanup operations at Hanford is
24            ensuring the health and safety of its federal and contractor workforce.
25            Protecting workers includes ensuring that any worker who is injured in the
26            course of his or her employment or who falls ill because of such
27            employment is fully and expeditiously compensated. DOE is firmly
28            committed to, and spends significant resources implementing, its worker
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              safety and workers’ compensation programs at Hanford. The workers’
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              compensation program for DOE’s federal contractor workforce at Hanford
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              operates pursuant to the Washington Industrial Insurance Act (“WIIA”).
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           5. HB 1723 interferes with these ongoing federal operations by fundamentally
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              changing how the WIIA applies to federally owned and operated portions of
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              Hanford but not to anywhere else in the State. Specifically, the law creates a
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              legal presumption that past, current, and future “United States [D]epartment
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              of [E]nergy Hanford site workers,” as defined under the law, are entitled to
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              workers’ compensation benefits if they develop certain diseases or
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10            conditions without having to demonstrate, as the WIIA otherwise requires,

11            that their conditions were more likely than not caused by their employment

12            at Hanford.

13         6. The resulting heightened liability for workers’ compensation, and attendant

14            costs, that HB 1723 imposes on DOE and its contractors are not imposed on

15            other employers elsewhere at Hanford or elsewhere in the State. This

16            impermissible discrimination against the Federal Government and its

17            contractors and purported direct regulation of the Federal Government

18            violate the Supremacy Clause.

19         7. The United States thus brings this action against Washington, the Governor

20            of Washington, the Washington Department of Labor and Industries

21            (“L&I”), and the Director of L&I (collectively, “Defendants”) for a

22            judgment declaring that HB 1723 is invalid under the Supremacy Clause,

23            and for an injunction against its enforcement.

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                                       JURISDICTION
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           8. This is a civil action brought by the United States under the Constitution of
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              the United States, U.S. Const. art. VI, cl. 2, seeking declaratory and
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              injunctive relief under 28 U.S.C. §§ 2201 and 2201, and Federal Rules of
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              Civil Procedure 57 and 65. This Court has subject matter jurisdiction
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              pursuant to 28 U.S.C. §§ 1331 and 1345.
6
                                          VENUE
7
           9. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
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              Hanford is located within this District.
9
10                                         PARTIES
           10. Plaintiff is the United States of America, suing on its own behalf and on
11
12            behalf of DOE.

13         11. DOE is a federal executive department charged by Congress with

14            completing the safe cleanup of the environmental legacy brought about from

15            five decades of nuclear weapons development at Hanford.

16         12. Defendant Washington is a State of the United States.

17         13. Defendant Jay Inslee is the Governor of Washington. He is sued in his

18            official capacity.

19         14. Defendant L&I is the state agency responsible for implementing the WIIA,

20            Revised Code of Washington (“RCW”) Title 51.

21         15. Defendant Joel Sacks is the Director of L&I. He is sued in his official

22            capacity.

23                  CONSTITUTIONAL AND STATUTORY BACKGROUND

24                        The Supremacy Clause of the U.S. Constitution

25         16. The Supremacy Clause of the U.S. Constitution provides: “This

26            Constitution, and the Laws of the United States which shall be made in

27            Pursuance thereof . . . shall be the supreme Law of the Land; and the Judges

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              in every State shall be bound thereby, any Thing in the Constitution or Laws
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              of any State to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2.
2
           17. The doctrine of intergovernmental immunity holds that “[u]nder the
3
              Supremacy Clause, ‘the activities of the Federal Government are free from
4
              regulation by any state.’” Boeing Co. v. Movassaghi, 768 F.3d 832, 839
5
              (9th Cir. 2014) (quoting Mayo v. United States, 319 US 441, 445 (1943)). A
6
              state law is invalid if it “regulate[s] the United States directly,” or if it
7
              “discriminate[s] against the Federal Government or those with whom it
8
              deals,” that is, if it “treats someone else better than it treats the government.”
9
10            Boeing, 768 F.3d at 839, 842.

11                                           The WIIA
12         18. The WIIA is the State’s statutory regime for industrial insurance. It
13            provides that a worker who sustains an injury or contracts an “occupational
14            disease,” will be compensated through the payment of certain benefits. An
15            “occupational disease” is defined as “such disease or infection as arises
16            naturally and proximately out of employment under the mandatory or
17            elective adoption provisions of this title.” RCW 51.08.140.
18         19. To be eligible to receive benefits under the WIIA, a worker generally has
19            the burden of establishing that (1) he or she has a physical condition and (2)
20            there is a “causal connection between” his or her physical condition and
21            employment based on competent medical testimony which shows that the
22            disease is probably, as opposed to possibly, caused by the employment.
23            Dennis v. Dep’t of Labor & Indus. of State of Wash., 109 Wash.2d 467, 477
24            (Wash. 1987). A claim for an “occupational disease” is generally subject to
25            a two-year statute of limitations. RCW 51.28.055.
26         20. The WIIA requires that all employers covered by the Act provide workers’
27            compensation coverage. Employers may do so by participating in the
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                Washington State Fund (“State Fund”), which is an insurance pool funded
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                by employer premiums and managed and administered by L&I, or
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                employers may do so by qualifying as a self-insurer. RCW 51.14.010;
3
                51.14.030. A self-insured employer provides workers compensation benefits
4
                directly to its employees rather than through the State Fund. See RCW
5
                51.08.173.
6
7                             Workers’ Compensation at Hanford
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           21. Federal law provides for a limited waiver of the Federal Government’s
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                intergovernmental immunity for state workers’ compensation laws, such that
10
                States may enforce their workers’ compensation laws against private
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                employers working on federal land, “in the same way and to the same extent
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                as if the premises were under the exclusive jurisdiction of the State.” 40
13
                U.S.C. § 3172. Non-federal employees at Hanford consequently receive
14
                workers’ compensation coverage through the WIIA.1
15
           22. As a certified self-insurer under the WIIA, DOE provides workers’
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                compensation coverage directly to the majority of federal contractor
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                employees at Hanford. Specifically, pursuant to a Memorandum of
18
                Understanding between DOE and L&I (“MOU”), DOE serves as the
19
                “statutory employer” for the employees of certain Hanford contractors,
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                including six of its current prime contractors and seven of their
21
                subcontractors. Together these contractors employ the majority of the
22
                approximately 10,000 current employees of DOE contractors at Hanford.
23
                The MOU also covers the employees of sixty-one contractors and
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25
26         1
               Workers’ compensation claims for federal employees are administered
               pursuant to the Federal Employees’ Compensation Act (“FECA”, 5 U.S.C. §
27             8103 et seq.). FECA does not cover non-federal employees at Hanford.
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              subcontractors that previously performed work for the Federal Government
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              at Hanford.
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           23. DOE thus has assumed responsibility for providing workers’ compensation
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              coverage for these contractor employees. L&I provides oversight of the
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              self-insurance process and retains final authority as to the allowance of their
5
              workers’ compensation claims. When L&I approves a claim of a contractor
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              employee covered by the MOU, DOE pays the benefits.
7
           24. Hanford contractors not covered by the MOU provide workers’
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              compensation coverage to their employees either through the State Fund or
9
10            as self-insurers. Because workers’ compensation costs are considered

11            “allowable” under federal acquisition regulations – which are incorporated

12            into DOE contracts – these contractors will likely be reimbursed by DOE for

13            such costs.

14                     Workers’ Compensation Claims Processing at Hanford

15         25. DOE contracts with a third-party administrator – currently Penser North

16            America, Inc. – that manages workers’ compensation claims on behalf of

17            DOE, and pays benefits for contractors covered under the MOU.

18         26. Penser reviews a submitted claim, gathers relevant employment and medical

19            information, and recommends that L&I either approve or deny the claim.

20            L&I then issues an order approving or denying the claim. Penser

21            administers approved claims and pays appropriate benefits consistent with

22            the L&I order. Either the worker or DOE may contest an L&I order through

23            the administrative appeals process, including further review by L&I and the

24            Washington Board of Industrial Insurance Appeals, subject to judicial

25            review in state court.

26         27. Since 2009, DOE has paid nearly $116 million in workers’ compensation

27            benefits to employees of Hanford contractors covered by the MOU.

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                                             HB 1723
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2          28. HB 1723 was signed into law by Defendant Inslee on March 7, 2018, and
3              became effective, as a matter of State law, on June 7, 2018. It has been
4              codified at RCW 51.32.187.
5          29. HB 1723 amends the WIIA by creating a “prima facie presumption” for
6              “[D]epartment of [E]nergy Hanford site workers” that certain defined
7              illnesses are “occupational diseases” within the meaning of RCW 51.08.140.
8              HB 1723 Sec. 1.(2)(a).
9          30. “United States [D]epartment of [E]nergy Hanford site workers” are defined
10             as “any person, including a contractor or subcontractor, who was engaged in
11             the performance of work, either directly or indirectly, for the United States,
12             regarding projects and contracts at the Hanford nuclear site and who worked
13             on the site at the two hundred east, two hundred west, three hundred area,
14             environmental restoration disposal facility site, central plateau, or the river
15             corridor locations for at least one eight-hour shift while covered under this
16             title.” HB 1723 Sec. 1.(1)(b). The vast majority of federal contractor
17             employees at Hanford have worked, and continue to work, in these areas.2
18         31. HB 1723 facially applies to federally owned and operated portions of
19             Hanford, specifically excluding leased land and state-owned land located
20             within Hanford’s boundaries.
21         32. Any covered Hanford worker—past, present, or future; living or deceased—
22             who worked a single eight-hour shift in a covered area, and thereafter suffers
23             from one of potentially hundreds of covered illnesses, can avail themselves
24             of HB 1723’s presumption of entitlement to workers’ compensation.
25
26
           2
             A detailed map of Hanford, and a second map illustrating the areas referenced
27         in the law, are attached as Exhibits B and C.
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           33. HB 1723 eliminates the two-year statute of limitations on claims contained
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              in RCW 51.28.05 because the presumption extends to all workers’
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              compensation claims filed after June 7, 2018, “without regard to the date of
3
              last injurious exposure or claim filing,” and also “extends to an applicable …
4
              site worker following termination of service for the lifetime of that
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              individual.” HB 1723 Sec. 1.(5)(c), (a). “A worker or the survivor of a
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              worker who has died as a result of one of the [covered] conditions or
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              diseases…, and whose claim was denied by order of [L&I], the board of
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              industrial insurance appeals, or a court, can file a new claim for the same
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10            exposure and contended condition or disease.” HB 1723 Sec. 1.(5)(b).

11         34. HB 1723’s covered illnesses include common and broadly defined ailments,

12            such as “respiratory disease” and “neurological disease,” as well as “[a]ny

13            heart problems, experienced within seventy-two hours of exposure to fumes,

14            toxic substances, or chemicals at the site;” “[c]ancer, subject to” certain

15            limitations defined elsewhere in the law; and “[b]eryllium sensitization, and

16            acute and chronic beryllium disease.” HB 1723 Sec. 1.(3), (4).

17         35. The presumption in HB 1723 may be rebutted only “by clear and

18            convincing evidence,” including “use of tobacco products, physical fitness

19            and weight, lifestyle, hereditary factors, and exposure from other

20            employment or nonemployment activities.” HB 1723 Sec. 1.(2)(b).

21         36. If a final decision allowing a claim for benefits under the presumption is

22            appealed and upheld, the board or court “shall order that all reasonable costs

23            of appeal, including attorneys’ fees and witness fees, be paid to the worker

24            or his or her beneficiary by the opposing party.” HB 1723 Sec. 1.(6)(a), (b).

25                            Discriminatory Scope of HB 1723
26
           37. HB 1723 discriminates on its face against the Federal Government and
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              those with whom it deals, because the law only applies to the federally
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              owned and operated portions of Hanford, excluding on-site areas leased to
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              non-federal entities, and to “United States [D]epartment of [E]nergy
2
              Hanford site workers.”
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           38. HB 1723 also discriminates against the Federal Government because it
4
              subjects DOE’s contractors at Hanford to significantly heightened workers’
5
              compensation liability not imposed on any other employers in the State.
6
              DOE will bear the majority of the costs from this heightened liability,
7
              including for ailments not demonstrated to have resulted from employment
8
              at Hanford.
9
10         39. HB 1723 discriminates against the Federal Government and its contractors

11            because other employers in the State whose workers conduct the same jobs

12            as Hanford employees are not subject to the presumption, and because other

13            employers that operate at Hanford, even in the areas covered by the law, are

14            not subject to the presumption.

15                                Direct Regulation of DOE

16         40. By imposing on DOE a clear-and-convincing standard of proof to overcome

17            the presumption, HB 1723 directly regulates the Federal Government by

18            effectively requiring DOE to cover certain ailments under the WIIA,

19            including those commonly occurring in the general population, whether or

20            not those ailments were caused by employment at Hanford.

21         41. That burden is compounded by HB 1723’s seemingly indefinite coverage

22            period. The presumption allows any past or present Hanford worker, or the

23            survivor of a deceased worker, to refile a claim that was previously denied.

24         42. HB 1723 thereby imposes significant costs on DOE and its contractors to

25            process and manage the additional claims submitted under HB 1723.

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                                      CLAIMS FOR RELIEF
1
                            Violation of Intergovernmental Immunity
2
                                           Discrimination
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           43. The United States incorporates by reference the allegations in Paragraphs 1
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              to 42.
5
           44. HB 1723 discriminates against the Federal Government and those with
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              whom it deals because it singles out DOE, its contractors, and the federally
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              owned and operated portions of Hanford for a substantially more
8
              burdensome and costly workers’ compensation scheme than is generally
9
10            applicable to employers in the State. Specifically, HB 1723 imposes

11            enhanced liability for workers’ compensation claims, and its attendant

12            significant compliance costs, exclusively on DOE and its contractors

13            notwithstanding that other employers operate in the same physical areas at

14            Hanford, and that employees throughout the State conduct many of the same

15            jobs as those conducted in the covered areas.

16         45. HB 1723’s discrimination violates the Federal Government’s

17            intergovernmental immunity guaranteed by the Supremacy Clause.

18                       Violation of Intergovernmental Immunity

19                                    Direct Regulation

20         46. The United States incorporates by reference the allegations in Paragraphs 1

21            to 45.

22         47. HB 1723 directly regulates the Federal Government by imposing unique

23            workers’ compensation obligations on DOE not caused by employment at

24            Hanford, and imposing their attendant significant compliance costs.

25         48. HB 1723’s direct regulation of the Federal Government violates the

26            intergovernmental immunity guaranteed by the Supremacy Clause.

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                                   PRAYER FOR RELIEF
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           WHEREFORE, Plaintiff United States of America prays that the Court:
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              (a) Declare, pursuant to 28 U.S.C § 2201, that HB 1723 is invalid under the
3
                 Supremacy Clause of the United States Constitution, both on its face and
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                 as applied to the Federal Government and those with whom it deals;
5
              (b) Permanently enjoin enforcement of HB 1723 against the Federal
6
                 Government and those with whom it deals, pursuant to 28 U.S.C § 2202,
7
                 and Federal Rules of Civil Procedure 57 and 65;
8
              (c) Award the Federal Government its costs of suit; and
9
10            (d) Order such other and further relief as the Court deems just and proper.

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     RESPECTFULLY SUBMITTED: December 10, 2018
12
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